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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED                 MDL NO. 2047
DRYWALL PRODUCTS LIABILITY                  SECTION: L
LITIGATION
THIS DOCUMENT RELATES TO:                   JUDGE FALLON
ALL CASES AND                               MAG. JUDGE WILKINSON

Payton, et al. v. Knauf Gips, KG, et al.
Case No. 09-cv-07628 (E.D. La.)

Gross, et al. v. Knauf Gips, KG, et al.
Case No. 2:09-cv-06690 (E.D. La.)

Rogers, et al. v. Knauf Gips, KG, et al.
Case No. 2:10-cv-00362 (E.D. La.)

Amato, et al. v. Liberty Mutual Insurance
Company, Case No. 2:10-cv-00932 (E.D.La.)

Abreu, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 2:11-00252 (E.D. La.)

Block, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 11-cv-1363 (E.D. La.)

Arndt, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 11-cv-2349 (E.D. La.)

Cassidy, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 11-cv-3023 (E.D. La.)

Vickers, et al. v. Knauf Gips, KG, et al.
Case No. 2:09-cv-04117 (E.D. La.)

         MOTION FOR AN ORDER: (1) PRELIMINARILY APPROVING
        THE SETTLEMENT AGREEMENT IN MDL NO. 2047 REGARDING
          CLAIMS INVOLVING BUILDERS, INSTALLERS, SUPPLIERS
      AND PARTICIPATING INSURERS; (2) CONDITIONALLY CERTIFYING
         A SETTLEMENT CLASS; (3) APPROVING THE FORM NOTICE
         TO CLASS MEMBERS; (4) SCHEDULING A JOINT FAIRNESS
         HEARING; AND (5) STAYING CLAIMS AGAINST BUILDERS,
         INSTALLERS, SUPPLIERS, AND PARTICIPATING INSURERS
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        Proposed Class Counsel and the Plaintiffs’ Steering Committee (“PSC”), hereby move

this Court for an Order:

        1.      Conditionally certifying the Class for purposes of the Settlement Agreement in

MDL No. 2047 Regarding Claims Involving Builders, Installers, Suppliers and Participating

Insurers (the “Global Settlement”);1

        2.      Granting preliminary approval to the proposed Global Settlement, finalized as of

May 18, 2012;2

        3.      Appointing the following Class representatives: Paul and Therese Petkin; Felix

Diaz; Amelia De Jesus; Richard Sage; Villa at Oak Hammock, LLC; WM Townhomes, LLC;

Dean and Dawn Amato; Byron and Debra Byrne; Donald and Marcelyn Puig; Edward and Susan

Beckendorf; and Danny and Celeste O’Keefe and each class representative identified in each

Omni Complaint and each Complaint in Intervention to an Omni Complaint in MDL 2047.

        4.      Appointing Russ Herman and Arnold Levin as Class Counsel and the Plaintiffs’

Steering Committee (“PSC”) as Of-Counsel;

        5.      Approving the form and manner of Notice to Class Members with deadlines for

Opt-Out Requests and Objections;3

        6.      Scheduling a Joint Fairness Hearing to consider the Global Settlement; and


        1
          The Participating Defendants are identified in Exhibit 1 to the Global Settlement. The
Participating Insurers are identified in Exhibit 2 to the Global Settlement.
        2
          The Global Settlement is attached as Exhibit A to the accompanying Memorandum of Law in
support of this Motion. The Settling Parties are still in the process of executing the Global Settlement.
Class Counsel will provide the Court with a copy of the fully executed Global Settlement as soon as all
Settling Parties have signed the agreement. Capitalized terms used in this Motion have the same meaning
as the same terms used in the Global Settlement.
        3
         The Settling Parties are in the process of finalizing the proposed form of notice to Class
Members. Class Counsel and the PSC will supplement this motion with the proposed form of notice in
advance of the preliminary approval hearing currently scheduled for May 31, 2012.

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       7.      Staying and enjoining the prosecution of all claims which have been asserted

against the Participating Defendants and Participating Insurers in the Litigation, all CDW-

Related Actions, and all Related Claims, whether or not the Settling Parties are named parties to

the lawsuit.

       This Motion is supported by the accompanying Memorandum of Law and the Global

Settlement (with exhibits) filed contemporaneously herewith.

       WHEREFORE, proposed Class Counsel and the PSC respectfully request that, after due

consideration, the Court grant this Motion for an Order: (1) preliminarily approving the

Settlement Agreement in MDL No. 2047 Regarding Claims Involving Builders, Installers,

Suppliers and Participating Insurers; (2) conditionally certifying a settlement class; (3) approving

the form of Notice to Class Members; (4) scheduling a Joint Fairness Hearing; and (5) staying

claims against builders, installers, suppliers, and Participating Insurers.

                                               Respectfully submitted,



Dated: May 18, 2012                            /s/ Russ M. Herman
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                                CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Motion for an Order: (1) Preliminarily
Approving The Settlement Agreement in MDL No. 2047 Regarding Claims Involving Builders,
Installers, Suppliers and Participating Insurers; (2) Conditionally Certifying a Settlement Class;
(3) Approving the Form Notice to Class Members; (4) Scheduling a Joint Fairness Hearing; and
(5) Staying Claims Against Builders, Installers, Suppliers, and Participating Insurers has been
served on Defendants’ Liaison Counsel, Kerry Miller, by e-mail and upon all parties by
electronically uploading the same to LexisNexis File & Serve in accordance with Pre-Trial Order
No. 6, and that the foregoing was electronically filed with the Clerk of Court of the United States
District Court for the Eastern District of Louisiana by using the CM/ECF System, which will
send a notice of electronic filing in accordance with the procedures established in MDL 2047 on
this 18th day of May, 2012.



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